                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY

IN RE:

         BARRETT HOLLOWAY MOORE,                             Case No. 17-20106-dob
             Debtor.                                         Chapter 7 Proceeding
                                                             Hon. Daniel S. Opperman
_____________________________________/

                    ORDER DISQUALIFYING OSIPOV BIGELMAN, P.C.,
                    AS SPECIAL LITIGATION COUNSEL FOR TRUSTEE

         For the reasons stated in an Opinion of even date, the Court has determined that Osipov

Bigelman, P.C. is disqualified from representing the Trustee in this case.

         NOW, THEREFORE, IT IS HEREBY ORDERED that Osipov Bigelman, P.C. is

disqualified from representing the Chapter 7 Trustee, Randall Frank, in this action.


Signed on July 14, 2017




 17-20106-dob        Doc 106    Filed 07/14/17     Entered 07/14/17 14:17:58           Page 1 of 1
